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     ATTACHMENT TO AMENDED JANUARY MONTHLY OPERATING REPORT

        General Methodology. The debtors and debtors in possession in these chapter 11 cases
(collectively, the “Debtors”) have prepared this monthly operating report (the “MOR”) with the
assistance of their advisors and professionals solely for the purpose of complying with the
reporting requirements applicable in chapter 11 cases. The financial and supplemental information
contained herein is unaudited, limited in scope, and is not prepared in accordance with Generally
Accepted Accounting Principles in the United States (“U.S. GAAP”) nor in accordance with
federal or state securities laws or other applicable non-bankruptcy law or in lieu of complying with
any periodic reporting requirements thereunder. Upon the application of such principles, the
Debtors believe that the financial information could be subject to material change.

        The information included in the MOR was derived from the Debtors’ books and records
available at the time of preparation. The MOR was not prepared in accordance with U.S. GAAP
and does not include all disclosures and adjustments required by U.S. GAAP. Specifically, the
income statement was prepared on a cash basis and may not reflect all expenses or revenues
attributable to the reporting period. In addition, the information has not been subject to the
procedures typically applied to financing information in accordance with U.S. GAAP.

         Although the Debtors used reasonable efforts to ensure the accuracy and completeness of
the MOR, inadvertent errors or omissions may exist. Accordingly, the Debtors hereby reserve
their rights to dispute the validity, status, enforceability, or executory nature of any claim amount,
agreement, representation, or other statement set forth in this MOR. For the avoidance of doubt,
the Debtors hereby reserve all rights to amend and supplement the MOR in all respects, as may be
deemed necessary or appropriate, but shall be under no obligation to do so. Nothing contained in
or omitted from this MOR shall constitute a waiver of any of the Debtors’ rights or an admission
with respect to the chapter 11 cases.

        The signatory to the MOR has necessarily relied upon the efforts, statements, advice, and
representations of personnel of the Debtors and their agents, advisors, attorneys, and other
professionals. The signatory has not (and could not have) personally verified the accuracy of each
such statement, representation, and answer contained in the MOR.

        MOR Part 7(a): the Debtors made specific payments on account of prepetition debt in
accordance with the Bankruptcy Court’s orders granting various first day relief and consistent with
the Interim Order (I) Authorizing the Debtors to Obtain Postpetition Senior Secured Financing
and the Use of Cash Collateral; (II) Granting Adequate Protection; (III) Granting Liens and
Superpriority Administrative Expense Claims; (IV) Modifying the Automatic Stay; (V) Scheduling
a Final Hearing; and (VI) Granting Related Relief (D.I. 54) (the “Interim DIP Order”). In
particular, the Bankruptcy Court entered orders authorizing, but not directing, the Debtors to,
among other things, pay certain prepetition (a) taxes and fee obligations, (b) insurance obligations,
(c) shippers and freight forwarders claims, (d) critical vendor claims, and (e) employee wages,
salaries, other compensation, staffing company obligations, and reimbursable expenses.

       MOR Part 7(c): certain insiders were paid salaries pursuant to the Debtors’ authority to
continue to make such payments in the ordinary course of business and in accordance with the
Debtors’ prepetition policies and practices under the Order (I) Authorizing the Debtors to (A) Pay



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Prepetition Employee Wages, Benefits, and Other Compensation Obligations and (B) Maintain
the Compensation and Benefits Programs, and (II) Granting Related Relief [D.I. 50].

        MOR Part 7(g): During the period of January 14–31, 2025, the Debtors borrowed under
their postpetition DIP credit facility consistent with the Interim DIP Order.




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